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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:16-CR-3081

vs.
                                                          ORDER
ISAIAH D. BROWN,

                 Defendant.

       This matter is before the Court on the plaintiff's motion to dismiss
(filing 48). Pursuant to Fed. R. Crim. P. 48(a), leave of court is granted for
dismissal of the indictment, without prejudice, as it relates to the above-
captioned defendant.

      IT IS ORDERED:

      1.    The plaintiff's Motion To Dismiss Indictment (filing 48) is
            granted.

      2.    The indictment is dismissed as to defendant Isaiah D.
            Brown.

      Dated this 30th day of January, 2017.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
